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                                                                           MEMO ENDORSED
December 30, 2020

VIA ECF

Hon. Denise L. Cote
U.S. District Court, Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street, Room 1910
New York, NY 10007

Re:     JN Contemporary Art LLC v. Phillips Auctioneers LLC, Case No. 1:20-cv-04370-DLC

Dear Judge Cote:

         I write on behalf of Phillips Auctioneers LLC (“Phillips”). In accordance with Rule 1(E)
of Your Honor’s Individual Practices and in light of the Christmas holiday and run-up to New
Years, Phillips respectfully requests a two-week extension to file an application for attorneys’ fees
and costs under Federal Rules of Civil Procedure 54 and 68, and S.D.N.Y. Local Civil Rule
54.1(c)(7), which would otherwise be due tomorrow, December 31, 2020. Specifically, Phillips
requests that it have until January 14, 2021 to file such an application. Plaintiff has no objection
to this request.

         Phillips has not previously requested an adjournment or extension of time with respect to
this or any other submission in this matter. In addition, given that the Court’s December 16, 2020
Order granted Phillips’ Motion to Dismiss the Second Amended Complaint in its entirety and
closed this case, Dkt. 75, this request will not affect any other scheduled dates for this matter.


Respectfully submitted,

/s/ Luke Nikas                                                       Granted.            12.31.20

Luke Nikas




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